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                                         EXHIBIT A


                                         Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                  )
In re:                            )                          Chapter 11
                                  )
CENTER CITY HEALTHCARE, LLC d/b/a )                          Case No. 19-11466 (KG)
HAHNEMANN UNIVERSITY HOSPITAL, et )
al.,1                             )                          Jointly Administered
                                  )
                    Debtors.      )                          Re: Docket Nos. 1241 and ____
                                  )

         ORDER APPROVING SIXTEENTH OMNIBUS MOTION OF THE DEBTORS
              FOR ENTRY OF AN ORDER AUTHORIZING THE REJECTION
           OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES

            Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

  debtors in possession (the “Debtors”) for the entry of an order (this “Sixteenth Omnibus

  Rejection Order”) pursuant to section 365(a) of the Bankruptcy Code, authorizing the Debtors

  to reject certain executory contracts and unexpired leases listed on Exhibit 1 attached hereto (the

  “Contracts”), effective as of the date of the Motion; and the Court having jurisdiction to

  consider the Motion and the relief requested therein; and due and sufficient notice of the Motion

  having been given; and it appearing that the relief requested by the Motion is in the best interest

  of the Debtors’ estates, creditors and other parties in interest; and the Court having reviewed the




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            The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
            number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
            Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
            PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
            Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
            Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
            (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
            230 North Broad Street, Philadelphia, Pennsylvania 19102.
  2
            Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to them in the
            Motion.



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Motion and considered the arguments made at the hearing, if any; and after due deliberation and

sufficient cause appearing therefor;

             IT IS HEREBY ORDERED THAT:

             1.         The Motion is GRANTED as set forth herein.

             2.         The Contracts set forth on Exhibit 1 attached hereto are hereby rejected, effective

as of the date of the Motion (December 23, 2019), to the extent such Contracts are executory

contracts or unexpired leases.

             3.         This Order shall not be deemed to be a determination of whether any of the

Contracts are executory contracts or unexpired leases.

             4.         To the extent that a counterparty to a Contract chooses to file a proof of claim

relating to rejection damages, such proof of claim must be filed with the Court on or before the

later of (i) thirty (30) calendar days after service of this Order and (ii) the general deadline to file

claims in these Chapter 11 Cases, as determined by the Court by separate order.

             5.         The Debtors’ rights with respect to any existing defaults of the counterparties to

the Contracts, and all defenses and counterclaims to any rejection damages claims, are hereby

preserved.

             6.         This Court shall retain jurisdiction over any and all matters arising from the

interpretation or implementation of this Order.




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                                        Exhibit 1


                                    Rejected Contracts


                                      (see attached)




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Exhibit 1 - Rejected Contracts (16th Omnibus Rejection Motion)
In re Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al., Case No. 19-11466 (KG)



               Contract Party                                 Title of Agreement                                  Debtor Party
Drexel University                              Leased Employees Services Agreement                SCHC Pediatric Associates, L.L.C.
                                               Institutional Review Board Services
Drexel University                              Agreement                                          SCHC Pediatric Associates, L.L.C.

Drexel University                              Neuropsychological Services Agreement              SCHC Pediatric Associates, L.L.C.
Drexel University                              Service Agreement                                  SCHC Pediatric Associates, L.L.C.
Drexel University                              Student Affiliation Agreement                      SCHC Pediatric Associates, L.L.C.
Drexel University                              Student Affiliation Agreement                      SCHC Pediatric Associates, L.L.C.
Drexel University                              Student Affiliation Agreement                      SCHC Pediatric Associates, L.L.C.
Drexel University                              Student Affiliation Agreement                      SCHC Pediatric Associates, L.L.C.
Drexel University                              Service Agreement                                  SCHC Pediatric Associates, L.L.C.

Drexel University (Adult Cystic Fibrosis Clinic) Timeshare Sublease (see C.10 for sublease)       SCHC Pediatric Associates, L.L.C.
                                                 Restated Research Management Services
Drexel University College of Medicine            Agreement                                        Philadelphia Academic Health System, LLC
                                                 Restated Research Management Services
Drexel University College of Medicine            Agreement                                        St. Christopher’s Healthcare, LLC
Drexel University College of Medicine            Master Educational Services Agreement            SCHC Pediatric Associates, L.L.C.
                                                 Restated Research Management Services
Drexel University College of Medicine            Agreement                                        SCHC Pediatric Associates, L.L.C.

Drexel University College of Medicine -
Foundations Master Services (formerly PILS) Service Agreement                                     SCHC Pediatric Associates, L.L.C.
Drexel University for its School of Public
Health, for its Healing Hurt People Program
                                               Services Agreement                                 St. Christopher's Healthcare, LLC
                                               Amended and Restated Academic Affiliation
Drexel University, for its College of Medicine Agreement                                          Philadelphia Academic Health System, LLC
                                               Supplemental Academic Affiliation
Drexel University, for its College of Medicine Agreement - Pediatric Medicine                     Philadelphia Academic Health System, LLC

Drexel University, for its College of Medicine Agreement for Residency Teaching                   St. Christopher’s Healthcare, LLC
                                               Supplemental Academic Affiliation
Drexel University, for its College of Medicine Agreement - Pediatric Medicine                     St. Christopher’s Healthcare, LLC

Drexel University, for its College of Medicine Affiliation Agreement                              St. Christopher’s Healthcare, LLC

Drexel University, for its College of Medicine Affiliation Agreement                              St. Christopher’s Healthcare, LLC


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                Contract Party                              Title of Agreement                               Debtor Party

Drexel University, For Its College Of Medicine Various                                       St. Christopher’s Healthcare, LLC

Drexel University, for its College of Medicine Services Agreement                            SCHC Pediatric Associates, L.L.C.
Eagles Taxi, LLC                               Services Agreement                            St. Christopher’s Healthcare, LLC

Echo, Inc.                                    Master Services Agreement                      Philadelphia Academic Health System, LLC

Echo, Inc.                                    Order Form ORD-0555530                         Philadelphia Academic Health System, LLC

Echo, Inc.                                    Order Form ORD-0559699                         Philadelphia Academic Health System, LLC

Echo, Inc.                                    Order Form ORD-0574520                         Philadelphia Academic Health System, LLC

Echo, Inc.                                    Order Form ORD-0576228                         Philadelphia Academic Health System, LLC

Edwards Lifesciences Llc                      Consignment Agreement For Heart Valves         St. Christopher’s Healthcare, LLC

Electronic Payment Exchange                   Epx Merchant Agreement                         Philadelphia Academic Health System, LLC
Elemental Inc.                                Price List                                     St. Christopher’s Healthcare, LLC
Emergency Systems Service Company             Proposal                                       St. Christopher’s Healthcare, LLC
Encore Medical International, Inc.            Rental Svcs Agreement                          St. Christopher’s Healthcare, LLC
Endla Anday, M.D.                             Physician Agreements                           SCHC Pediatric Associates, L.L.C.

Environmental Engineering Solutions, Inc.     Services Agreement                             St. Christopher’s Healthcare, LLC

Essential Consulting Llc                      Software License Agreement                     Philadelphia Academic Health System, LLC
Ethan Kentzel                                 Services Agreement                             St. Christopher’s Healthcare, LLC
                                              Agreement For Services For Mass
Everbridge, Inc.                              Notifications                                  Philadelphia Academic Health System, LLC

Everbridge, Inc.                              Quote # Q-08937                                Philadelphia Academic Health System, LLC
Field House Philly                            Event Contract                                 St. Christopher’s Healthcare, LLC
Firm Revenue Cycle Management Services,       Agreement For Denied Account Review &
Inc.                                          Gap Analysis Service                           Philadelphia Academic Health System, LLC
Fishheads Aquarium Service LLC                Aquarium Service Proposal                      St. Christopher’s Healthcare, LLC




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               Contract Party                              Title of Agreement                                Debtor Party
                                              Access License and Shared Services
                                              Agreement and Agreement Regarding
Front Street Healthcare Properties II, LLC    Sublease                                       St. Christopher's Healthcare, LLC
                                              Access License and Shared Services
                                              Agreement and Agreement Regarding
Front Street Healthcare Properties, LLC       Sublease                                       St. Christopher's Healthcare, LLC
                                              Data De-Conversion Scope of Work and
GBS Corporation                               Purchase Agreement                             American Academic Health System*
                                              GE Healthcare Software License Transfer
GE Healthcare IITS USA Corp.                  Agreement                                      St. Christopher’s Healthcare, LLC
General Electric Company, by and through its
GE Healthcare division                       Quote # 99990432A                               St. Christopher’s Healthcare, LLC
                                             Agreement For Temporary & Contract
General Healthcare Resources, Llc            Staffing Provider                               Philadelphia Academic Health System, LLC

Global Healthcare Exchange, Llc               Agreement For Electronic Data Exchange         Philadelphia Academic Health System, LLC
Gretchen Metzenberg, D.O.                     Physician Agreements                           SCHC Pediatric Associates, L.L.C.
Hahnemann University Hospital                 Service Agreement                              St. Christopher’s Healthcare, LLC
Hahnemann University Hospital                 Service Agreement                              St. Christopher’s Healthcare, LLC
Hahnemann University Hospital                 Service Agreement                              SCHC Pediatric Associates, L.L.C.
Hahnemann University Hospital                 Service Agreement                              SCHC Pediatric Associates, L.L.C.
Hahnemann University Hospital                 Service Agreement                              SCHC Pediatric Associates, L.L.C.
Hahnemann University Hospital                 Service Agreement                              SCHC Pediatric Associates, L.L.C.
Hahnemann University Hospital (Center City
Healthcare)                                   Service Agreement                              SCHC Pediatric Associates, L.L.C.
Harpreet Pall, M.D.                           Physician Agreements                           SCHC Pediatric Associates, L.L.C.
Health Care Appraisers                        Service Agreement                              St. Christopher’s Healthcare, LLC

HealthStream, Inc.                            Master Services Agreement                      Philadelphia Academic Health System, LLC

HealthStream, Inc.                            Order Number ORD-0560031                       Philadelphia Academic Health System, LLC

HealthStream, Inc.                            Order Number ORD-0575567                       Philadelphia Academic Health System, LLC

HealthStream, Inc.                            Order Number ORD-0602617                       Philadelphia Academic Health System, LLC

HealthStream, Inc.                            Order Number ORD-0602493                       Philadelphia Academic Health System, LLC




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                   Contract Party                           Title of Agreement                               Debtor Party

HealthStream, Inc.                            Order Number ORD-0614509                       Philadelphia Academic Health System, LLC

Herman Goldner Co, Inc.                       Goldner Guaranteed Service Agreement           St. Christopher’s Healthcare, LLC
Hilton Philadelphia City Avenue               Banquest Event Order Contract                  St. Christopher’s Healthcare, LLC
Historic Hotel Bethlehem                      Catering Agreement                             St. Christopher’s Healthcare, LLC

Hollis Cobb Associates, Inc.                  Agreement For Collections Svcs                 Philadelphia Academic Health System, LLC
HSRE-PAHH I                                   DUCOM Extension Letter Agreement               St. Christopher's Healthcare, LLC
Hui Leng Deng, M.D.                           Physician Agreements                           SCHC Pediatric Associates, L.L.C.
Huntington Technology Finance, Inc.           Schedule No. SHC-025                           St. Christopher’s Healthcare, LLC

Impementation Mangement Assistance, Llc       Sows Agreement                                 Philadelphia Academic Health System, LLC

Impementation Mangement Assistance, LLC       Master Services Agreement                      Philadelphia Academic Health System, LLC
Independent Hardware, Inc.                    Pricing Agreement                              St. Christopher’s Healthcare, LLC

Infor (US), Inc.                              Software Services Agreement                    Philadelphia Academic Health System, LLC

Infor (US), Inc.                              Fixed Fee Services Work Order                  Philadelphia Academic Health System, LLC

Infor (US), Inc.                              SaaS Order Form                                Philadelphia Academic Health System, LLC
                                              Software Subscription License & Svcs
Infor (Us), Inc.                              Agreement                                      Philadelphia Academic Health System, LLC
Ino Therapeutics LLC                          Agreement For Inhalation Drug & Svcs           St. Christopher’s Healthcare, LLC
Iraj Rezvani, M.D.                            Physician Agreements                           SCHC Pediatric Associates, L.L.C.
Jacquelyn Klicka-Skeels, M.D.                 Physician Agreements                           SCHC Pediatric Associates, L.L.C.

Jdi Net Systems                               Software License Agreement                     Philadelphia Academic Health System, LLC
Jeanes Hospital (Temple)                      Clinical Rotation Agreement                    St. Christopher's Healthcare, LLC
Jeein Yoon, M.D.                              Physician Agreements                           SCHC Pediatric Associates, L.L.C.
Jennifer Tingo, M.D.                          Physician Agreements                           SCHC Pediatric Associates, L.L.C.
Juan Ballesteros, M.D.                        Physician Agreements                           SCHC Pediatric Associates, L.L.C.
Kenco Kalibration Inc.                        Quote                                          St. Christopher’s Healthcare, LLC
Keystone Quality Transport Company            Agreement For Ambulance Svcs                   St. Christopher’s Healthcare, LLC
Keystone Quality Transport Company dba
EMStar                                        Service Agreement                              St. Christopher’s Healthcare, LLC
Kieran Mckenna Flooring, Inc.                 Services Agreement                             St. Christopher’s Healthcare, LLC


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               Contract Party                               Title of Agreement                                Debtor Party
Kimberly Neidig, M.D.                          Physician Agreements                          SCHC Pediatric Associates, L.L.C.
Klenzoid, Inc.                                 Water Treatment Contract                      St. Christopher’s Healthcare, LLC

Laboratory Corporation Of America              Contractor Specimen Collection Agreement      St. Christopher’s Healthcare, LLC
Laerdal Medical Corporation                    Quote                                         St. Christopher’s Healthcare, LLC
LEAF Capital Funding, LLC (as assignee from
De Lage Landen Financial Services, Inc., as
assignee from Dex Imaging Inc.)                Tenet Lease Agreement                         SCHC Pediatric Associates, L.L.C.
LEAF Capital Funding, LLC (as assignee from
De Lage Landen Financial Services, Inc., as
assignee from Dex Imaging Inc.)                Tenet Lease Agreement                         St. Christopher’s Healthcare, LLC




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